Case 16-11117        Doc 22     Filed 08/29/16     Entered 08/29/16 11:09:28          Desc         Page 1
                                                  of 3




                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 16 B 11117
         Julian B Lewis

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        Marilyn O. Marshall, chapter 13 trustee, submits the following Final Report and Account
of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 03/31/2016.

         2) The plan was confirmed on NA .

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was Dismissed on 06/16/2016.

         6) Number of months from filing to last payment: 0.

         7) Number of months case was pending: 5.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: NA .

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




UST Form 101-13-FR-S (9/1/2009)
Case 16-11117              Doc 22           Filed 08/29/16    Entered 08/29/16 11:09:28             Desc         Page 2
                                                             of 3



 Receipts:

           Total paid by or on behalf of the debtor                            $0.00
           Less amount refunded to debtor                                      $0.00

 NET RECEIPTS:                                                                                                   $0.00


 Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                           $0.00
     Court Costs                                                                     $0.00
     Trustee Expenses & Compensation                                                 $0.00
     Other                                                                           $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                               $0.00

 Attorney fees paid and disclosed by debtor:                           $350.00


 Scheduled Creditors:
 Creditor                                                 Claim         Claim        Claim        Principal       Int.
 Name                                           Class   Scheduled      Asserted     Allowed         Paid          Paid
 BANK OF AMERICA                            Unsecured         370.00           NA           NA            0.00        0.00
 City of Chicago Parking                    Unsecured      1,300.00            NA           NA            0.00        0.00
 City of Hickory Hills                      Unsecured         400.00           NA           NA            0.00        0.00
 City of Justice                            Unsecured      4,000.00            NA           NA            0.00        0.00
 Comcast                                    Unsecured         200.00           NA           NA            0.00        0.00
 Creditors Discount & A                     Unsecured         331.00           NA           NA            0.00        0.00
 Illinois Department Of Healthcare And Fa   Priority          863.00           NA           NA            0.00        0.00
 L J Ross Associates In                     Unsecured      1,633.00            NA           NA            0.00        0.00
 L J Ross Associates In                     Unsecured         549.00           NA           NA            0.00        0.00
 Lansing Board of Water and Light           Unsecured         400.00           NA           NA            0.00        0.00
 Mcsi Inc                                   Unsecured         250.00           NA           NA            0.00        0.00
 Mcsi Inc                                   Unsecured         250.00           NA           NA            0.00        0.00
 Stellar Recovery Inc                       Unsecured         439.00           NA           NA            0.00        0.00
 Trinity Hospital                           Unsecured      1,000.00            NA           NA            0.00        0.00
 U S DEPT OF ED/GSL/ATL                     Unsecured      5,079.00            NA           NA            0.00        0.00
 UNITED ADJUSTMENT CORP                     Unsecured         331.00           NA           NA            0.00        0.00
 Western Funding Inc                        Secured        7,622.00            NA      7,622.00           0.00        0.00




UST Form 101-13-FR-S (9/1/2009)
Case 16-11117        Doc 22      Filed 08/29/16     Entered 08/29/16 11:09:28             Desc     Page 3
                                                   of 3



 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                       $0.00               $0.00             $0.00
       Mortgage Arrearage                                     $0.00               $0.00             $0.00
       Debt Secured by Vehicle                            $7,622.00               $0.00             $0.00
       All Other Secured                                      $0.00               $0.00             $0.00
 TOTAL SECURED:                                           $7,622.00               $0.00             $0.00

 Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00              $0.00             $0.00
        Domestic Support Ongoing                               $0.00              $0.00             $0.00
        All Other Priority                                     $0.00              $0.00             $0.00
 TOTAL PRIORITY:                                               $0.00              $0.00             $0.00

 GENERAL UNSECURED PAYMENTS:                                   $0.00              $0.00             $0.00


 Disbursements:

         Expenses of Administration                                  $0.00
         Disbursements to Creditors                                  $0.00

 TOTAL DISBURSEMENTS :                                                                            $0.00


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 08/29/2016                             By:/s/ Marilyn O. Marshall
                                                                     Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-13-FR-S (9/1/2009)
